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                            IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                       AT CLARKSBURG

  THE KAY COMPANY, LLC,
  WILLIAM CATHER, Trustee
  of Diana Goff Cather Trusts,
  and JAMES E. HAMRIC III,
  and all other persons and
  entities similarly situated,

                             Plaintiffs,

  v.                                                                      Case No. 1:13-CV-151
                                                                          Honorable John Preston Bailey

  EQT PRODUCTION COMPANY,
  a Pennsylvania corporation;
  EQT CORPORATION,
  a Pennsylvania corporation;
  EQT ENERGY, LLC, a
  Delaware limited liability company;
  EQT INVESTMENTS HOLDINGS, LLC, a
  Delaware limited liability company;
  EQT GATHERING, LLC, a
  Delaware limited liability company; and
  EQT MIDSTREAM PARTNERS, LP,
  a Delaware limited partnership,

                             Defendants.

                             PLAINTIFFS’ MEMORANDUM IN SUPPORT
                             OF MOTION FOR CLASS CERTIFICATION

                                        I. FACTUAL BACKGROUND

  A.       INTRODUCTION

           Plaintiffs are the owners and lessors of natural gas interests subject to leases held by

  EQT, as lessee. 1        Plaintiffs bring this action, on behalf of themselves and others similarly


  1
   Plaintiffs contend that all defendants are responsible for the conduct complained of herein, as explained below. All
  defendants EQT Production Company, EQT Corporation, EQT Energy, LLC, EQT Investments Holdings, LLC,
  EQT Gathering, LLC and EQT Midstream Partners, LP are referred to collectively as EQT defendants. EQT
  Production claims to be the sub-lessee of said leases.
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  situated against defendants in this case, to recover royalties defendants owe them for natural gas

  extracted and produced from their property or leasehold. 2 This action is brought for damages,

  including punitive damages, which occurred after December 8, 2008, pursuant to plaintiffs’

  causes of action in this case based upon breach of contract, constructive and actual fraud,

  including fraudulent concealment, and intentional breach of contract. Plaintiffs also claim that

  EQT Corporation is the alter ego of the other defendants, which are wholly owned subsidiaries of

  EQT Corporation, except for Midstream. EQT Corporation is not the sole owner of Midstream,

  but it is controlled by EQT. Defendants were acting in concert and in combination with one

  another with respect to shorting plaintiffs’ royalty. Each of the defendants are liable to plaintiffs

  and the class based upon their own acts, conduct and omissions and the conduct of each of the

  other defendants as a result of (a) agency, (b) alter ego, (c) joint venture and (d) contract among

  themselves.

          Plaintiffs therefore seek the Court’s approval to prosecute the claims for monetary relief

  on behalf of the following class:

          A.     All EQT natural gas lessors that received or were due to be paid royalties
          from defendants and EQT’s production or sale of natural gas which was produced
          within the boundaries of the State of West Virginia from their natural gas or
          mineral estates during the period beginning after December 8, 2008, and
          extending to the present (during any time within their leasehold period.) (See
          exception below.)

          While there are overarching issues common to all of the class, plaintiffs seek to prosecute

  the classes for relief on behalf of two subclasses:




  2 A previous class action preceded this civil action which resolved by a class action settlement, effective on
  December 8, 2008. All participants of the previous settlement entered into releases, resolving said claims which
  relieved EQT from any further liability prior to December 8, 2008, but retained plaintiffs’ claims for any liability
  and damages from December 8, 2008, forward. (Exh. 1)


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          (a)    All EQT natural gas lessors with flat rate leases converted by operation of
          W. Va. Code, § 22-6-8 and that received or were due to be paid royalties from
          defendants and EQT’s production or sale of natural gas which was produced
          within the boundaries of the State of West Virginia from their estates during the
          period beginning after December 8, 2008, and extending to the present (during
          any time within their leasehold period.)

          (b)     All EQT natural gas lessors that received or were due to be paid royalties
          from defendants and EQT’s production or sale of natural gas which was produced
          within the boundaries of the State of West Virginia from their estates during the
          period beginning after December 8, 2008, and extending to the present (during
          any time within their leasehold period,) except for those lessors holding flat rate
          leases converted according to W. Va. Code, § 22-6-8.

          There would be excepted from the class the following:

                  (1)     Flat rate leases which have not been converted unless by operation
                  of W. Va. Code § 22-6-8, the West Virginia Supreme Court finds that they
                  are to be converted or grants relief in the appeal now pending before the
                  West Virginia Supreme Court.

                  (2)     Excluded from the classes are officers and agents of any defendant or
                  subsidiary of any defendant named in this lawsuit or any lawsuit involving the
                  same or similar claims as those alleged in this lawsuit; any attorney for any such
                  defendant; any attorney for any plaintiff in this lawsuit or in any lawsuit involving
                  the same or similar claims as those alleged in this lawsuit against any such
                  defendant; and any judicial officer who presides over this lawsuit or over any
                  other lawsuit involving the same or similar claims as those alleged in this lawsuit
                  against any such defendant.

          Attorneys for plaintiffs represent that other subclasses may be useful in managing the

  case at trial. 3 Some of the “flat rate” subclass issues are presently pending before the Supreme

  Court of the State of West Virginia, pending in a separate case via certified question. Patrick D.

  Leggett, et al. v. EQT Production Company, et al., Docket No. 16-0136. (Honorable Frederick P.

  Stamp, Jr.)




  3 For example, the Court may separate out leases by category or groups for separate trials or it may try all
  issues in one trial.

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  B.     STATEMENT OF FACTS

         1.      Plaintiffs

         a.      The Kay Company, L.L.C. is a small West Virginia land holding company which

  leases its coal, oil and gas rights to producers, including EQT defendants. The relevant lease

  language of Kay’s lease is:

         (i)     Lessee agrees to pay Lessor for each gas well from the time and while the
         gas is marketed, at the rate of one-eighth (1/8) of the current wholesale market
         value at the well of the gas, gasoline and other products thereof, based on the
         usual price paid therefor in the general locality of said leased premises, payable
         each three months, all pursuant to subsection (a) of this article, and determined at
         the point or points provided in subsection (b) of this article. In no event shall the
         current wholesale market value of such gas at the well for the purposes hereof be
         less than 18¢ per mcf.

         b.      William Cather, Trustee of Diana Goff Cather Trusts, is a trust which holds

  family natural gas interests, a part of which is presently leased to EQT defendants. The relevant

  leases and lease language is as follows:

         (i)     …Second—to pay as royalty for all gas produced and marketed from each
         well when and as the gas is marketed, one-eighth (1/8) of the wholesale market
         value thereof at the well based on the usual price paid therefor in the general
         locality of the leased premises, payable on or before the 25th day of the month
         following that in which the gas was delivered into the marketing pipeline. Said
         payments shall constitute the entire consideration to Lessors for such gas
         including the gasoline and other content thereof except as hereinafter provided.

         (ii)    ...and 2d-To pay SEVENTY-FIVE and 00/100 ($75.00) Dollars each three
         months in advance for the gas from each and every gas well drilled on said
         premises, the product from which is marketed and used off the premises as a gas
         well, said payment to be made on each well from date utilized, and to be paid
         each three months thereafter while the gas from said well is so marketed and used.

         (iii) To pay quarterly one-eighth (1/8) of the proceeds received for the gas
         from each and every gas well drilled on said premises, the production from which
         is marketed and used off the premises, while the gas from said well is so marketed
         and used.




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          c.       James E. Hamric, III, owns certain natural gas rights and leases same to EQT

  defendants. The relevant lease language is as follows:

          (i)      The Lessee shall pay Lessor as royalty one-eighth (1/8) of the proceeds
          from the sale of gas as such at the mouth of the well where gas, condensate,
          distillate or other gaseous substance is found.

          The plaintiffs’ leases include flat rate and leases without mention of deductions, yet

  defendants take deductions, including taxes and do not pay plaintiffs for liquids.

          2.       Defendants

          a.       EQT Corporation is a publicly traded corporation which, among other endeavors,

  directly or indirectly enters into contractual arrangements to receive monetary benefits from

  West Virginia lessors through the taking of deductions through, and by the use of subsidiaries,

  joint venturers and partners, it leases and acquires leases by assignment or otherwise of certain

  natural gas rights within the boundaries of the State of West Virginia and elsewhere, and it

  produces, gathers, transports and represents that it sells the same at “points of sale” on interstate

  natural gas pipelines at published index prices.

          All other EQT defendants are solely owned subsidiaries of EQT Corporation. As set out

  below, EQT Corporation operates its natural gas business through various subsidiaries, including

  the other EQT defendants which are mere departments and business segments of EQT

  Corporation. 4

          All defendants and other subsidiaries also work together by the use of “groups” which are

  made up of personnel sometimes including EQT Corporation employees and various of the

  subsidiaries. EQT Corporation and each of the defendants, except perhaps Investment, have

  charges and expenses which are included in the bucket of service charges which are deducted


  4Plaintiffs can prove that EQT Corporation is as alter ego of the other defendants. Norfolk Southern Ry.
  Co. v. Maynard, 437 S.E.2d 277, 282 (W.Va. 1993), See infra.

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  from plaintiffs’ royalty. Therefore, the parent and all defendant subsidiaries profit from the

  deductions taken from plaintiffs and the class by getting together and deciding how much goes

  into the basket and how much each gets from it.

          b.      EQT Production is the designated lessee of plaintiffs and the putative class. It

  owns the leases, drills the wells and claims to sell the gas to EQT Energy, another subsidiary.

  EQT Energy purchases all of Production’s natural gas and sells it at “first liquid trading point”

  which is defined as at the interstate pipeline, such as the TCO at “index price” or other index

  prices, which is the published trading price for that day. 5

          c.      EQT Energy, however, does not pay Production the price it receives at the actual

  point of sale. Instead, Energy deducts the price that a different wholly-owned subsidiary, EQT

  Gathering, charges for taking the gas from the wellhead to the point of sale. Energy then claims

  that it buys the gas at the wellhead and Production claims it sells the gas at the wellhead.

  Energy, however, doesn’t pay plaintiffs for the volume at the wellhead.

          d.      EQT Midstream Partners is part of the gathering group. It is a publicly traded,

  limited partnership which, along with EQT Gathering, gathers the gas from West Virginia wells

  and delivers it to the “point of sale” and charges plaintiffs part of gathering charges. EQT

  Corporation is the principal owner and controls the board of directors of Midstream. (Exh.2,

  Deposition of Jimmi Sue Smith, pp. 19-22)

          e.      EQT Investment Holdings, LLC, among other duties, handles loans among and

  between EQT Corporation and subsidiaries and assists in managing and financing the

  subsidiaries for and on behalf of EQT Corporation. While it may have no direct involvement




  5Plaintiffs complain that this arrangement was part of a fraudulent scheme to pay plaintiffs less than the
  royalty to which they were entitled.

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  with deductions, it does provide bases for the joint venture and alter ego of the subsidiaries, to

  the extent it uses Corporation’s money to run subsidiaries.

  C.     THE STANDARD

         In West Virginia, unlike some other states, the evaluation and analysis of the duties and

  responsibilities of lessees with respect to paying royalties to their lessors necessarily requires

  reference to at least two cases decided by the Supreme Court of the State of West Virginia. The

  Tawney Court relying, in part, on the case of Wellman v. Energy Resources, Inc., 210 W.Va. 200,

  557 S.E.2d 254 (2001,) answered the certified question as follows:

                 In light of the fact that West Virginia recognizes that a lessee to an oil and
         gas lease must bear all costs incurred in marketing and transporting the product to
         the point of sale unless the oil and gas lease provides otherwise, is lease language
         that provides that the lessor's 1/8 royalty is to be calculated “at the well,” “at the
         wellhead” or similar language, or that the royalty is “an amount equal to 1/8 of the
         price, net all costs beyond the “wellhead,” or “less all taxes, assessments, and
         adjustments” sufficient to indicate that the lessee may deduct post-production
         expenses from the lessor's 1/8 royalty, presuming that such expenses are
         reasonable and actually incurred?

         Answer: No

         Further, the Court held in Syllabus points 2 and 10 of Tawney that:

         “If an oil and gas lease provides that the lessor shall bear some part of the costs
         incurred between the wellhead and the point of sale, the lessee shall be entitled to
         credit for those costs to the extent that they were actually incurred and they were
         reasonable. Before being entitled to such credit, however, the lessee must prove,
         by evidence of the type normally developed in legal proceedings requiring an
         accounting, that he, the lessee, actually incurred such costs and that they were
         reasonable.” Syllabus Point 5, Wellman v. Energy Resources, Inc., 210 W.Va.
         200, 557 S.E.2d 254 (2001). Tawney, Syllabus 2.

         “Language in an oil and gas lease that is intended to allocate between the lessor
         and lessee the costs of marketing the product and transporting it to the point of
         sale must expressly provide that the lessor shall bear some part of the costs
         incurred between the wellhead and the point of sale, identify with particularity the
         specific deductions the lessee intends to take from the lessor's royalty (usually
         1/8), and indicate the method of calculating the amount to be deducted from the
         royalty for such post-production costs.” Tawney, Syllabus 10.

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         Estate of Tawney v. Columbia Natural Resources, L.L.C., 219 W.Va. 274, 633
         S.E.2d 30 (2006.)

         A fair reading of Tawney and Wellman is that the lessee must prove or prepare and have

  records to prove that “[b]efore being entitled to such credit, however, the lessee must prove, by

  evidence of the type normally developed in legal proceedings requiring an accounting, that he,

  the lessee, actually incurred such costs and that they were reasonable.” Id. This has become a

  factual issue in this case because after discovery, plaintiffs contend that defendants did not

  comply with the objective legal requirements of West Virginia’s statutory or common law,

  including the explicit direction of the West Virginia Supreme Court that defendants must prove

  they complied with the standard before they take deductions.

         Because West Virginia has held that there are implied covenants that are applicable and

  enforceable with oil and gas leases, the standards set forth in Wellman and Tawney are directly

  relevant in the determination of whether EQT defendants breached the duties and responsibilities

  to their lessors. It is important to note also that “the general rule as to oil and gas leases is that

  such contracts will generally be liberally construed in favor of the lessor, and strictly as against

  the lessee.” Syllabus Point 1, Martin v. Consolidated Coal & Oil Corp., 101 W.Va. 721, 133 S.E.

  626 (1926). Tawney, supra, Syl. 7. Another case which has addressed the holdings in Tawney

  and Wellman is W.W. McDonald Land Co. v. EQT Production Co., 983 F. Supp.2d 790 (2014).

  The Wellman court held:

          (5)    The defendants cannot calculate royalties based on a sale between subsidiaries at
  the wellhead when the defendants later sell the gas in an open market at a higher price.
  Otherwise, gas producers could always reduce royalties by spinning off portions of their business
  and making nominal sales at the wellhead. I predict with confidence that, if confronted with this
  issue, the Supreme Court of Appeals would hold the same. See Howell v. Texaco, Inc., 112 P.3d
  1154 (Okla. 2004) (“an intra-company contract is not an arm’s length transaction, [and] it is not a
  legal basis on which [a producer] can calculate royalty payments”); Beer v. XTO Energy, Inc.,


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  CIV-07-798-L, 2010 WL 476715 (W.D. Okla. Feb. 5, 2010) (gas sale at wellhead between two
  controlled, affiliated companies not appropriate for royalty calculation).

          (6)    To determine the wellhead price, the defendants use a “work-back method” which
  “involves subtracting postproduction costs that enhance the value of the gas from the interstate
  connection price.” (Mem. in Supp. of Defs.’ Joint Mot. for Summ. J. [Docket 170], at 25).
  Absent lease language to the contrary, Tawney requires lessees to pay royalties free of these
  costs. The defendants cannot avoid Tawney by simply reorganizing their businesses and making
  intra-company wellhead sales. Accordingly, I FIND that Tawney’s specificity requirements
  apply to royalty payments made under the defendants’ work-back method after 2005.

          Therefore, the McDonald Court ruled that defendants’ sister subsidiaries’ plan nor the

  works back method are effective in avoiding the holdings in Tawney.

          Therefore, the Wellman and Tawney decisions leave no doubt concerning what language

  must be incorporated in the lease in order to entitle it to take deductions and further it left no

  doubt but that lessee had the burden of proof to prove that they had actually incurred the costs

  and further that they were “reasonable.”

  D.      THE DEFENDANTS’ CONDUCT

          1.       The Background

          As set forth above, this is the second class action filed against EQT and one or more of its

  subsidiaries, alleging breaches of contract and other causes of action as a result of EQT’s

  practice with respect to its obligations to pay royalty to its lessors. The first case 6 was settled

  effective on or about December 8, 2008. Plaintiffs have learned that defendants merely adjusted

  their straps and basically continued to do what they had done before, which is take unreasonable

  deductions from essentially each and every one of their lessors and not pay plaintiffs at the index

  price at the real or actual point of sale. The only type lease that defendants claim they do not

  take deductions on is a “proceeds” lease which has no specific language allowing for deductions.

  (Exh. 3, Bergonzi Deposition II, pp. 91-93.) There are a few others which defendants have

  6The Kay Company, et al. v. Equitable Production Co., US District Court, S.D., West Virginia, Civil Action No.
  2:06-cv-00612.

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   inserted language not allowing for deductions usually to large oil and gas owners. The decision

   to continue taking deductions from plaintiffs after Tawney and the first class action settlement,

   was a “corporate” decision by EQT Corporation. Id. 42-44; 93-95.

          2.      EQT’s Failure to Exercise Due Diligence With Respect to Lease Analysis

          As set forth above, defendants purchased and were assigned the right to Eastern States’

   leases in 2000. Defendants also purchased leases from other third parties and they have land

   men who seek out and enter into leases between EQT Production and owners of natural gas in

   West Virginia. The land men work for Lease Administration, but under EQT Production. Id.

          There is a “group” at EQT called Land Administration whose responsibility it is to

   receive all leases and enter them into the Enertia and Docusphere database systems. (Bergonzi

   Deposition, 7/19/16, pp. 12-14.) It is at this stage where EQT reviews the lease and determines

   “whether various deductions should be taken and what type of deductions.” Id. 13.

          Plaintiffs have recently, since July this year, been provided discovery and deposition

   testimony which sheds light on the information EQT has had throughout this case with which it

   could have provided to the plaintiffs’ counsel. Previously, defendants produced the entire lease

   files, not the specific operative leases relevant to the time period subject in this case and

   plaintiffs had to pick out leases they believed were operative; there was no index to tell them

   which lease was the operative one. Plaintiffs recently discovered the following:

          (1)   Defendants have lease analysts who review the lease and categorize them. (Exh.
          4, Alma Tolman Deposition, pp. 14, 23.

          (2)    All leases are on a system called Docusphere which is an electronic database. Id.
          pp. 13-15.

          (3)     Docusphere has an index and Ms. Tolman explained what tools are available to
          her:




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          A. In the way the index works. It can be agreements, lease ownership changes,
          miscellaneous, correspondence.
          Q. It has, like, a column that you can pick whatever you want?
          A. Yes.

          Ms. Tolman stated that it would take her 5 minutes to pull up a lease and there are

   various codes she could use to access a long list of significant documents. Ms. Tolman stated

   that they do not discriminate between which states the lessors are in. They treat all lessors the

   same, whether West Virginia, Pennsylvania or Kentucky. Id. p. 25. Of course, these states have

   different laws than West Virginia.

          3.      Defendants’ West Virginia Leases 7

          All of the leases which defendants own in West Virginia began with the purchase in the

   year 2000 by EQT of all of Eastern States’ leases in West Virginia. Id. 36. After EQT

   purchased these leases, they continued to pay the lessors in the same manner, including taking

   deductions and paying royalty like Eastern States did. Id. 36. EQT simply transferred or merged

   Eastern States’ electronic data into the database and system of EQT known as J.D. Edwards,

   which was then migrated into EQTs’ present system called Enertia. Id. 37-38. The leases

   themselves are stored in a database and system called Docusphere. Id. 10.

          Lease Administration has “Lease Analysts” who review the leases. (Exh. 3B, Bergonzi

   Deposition, p. 15.) Mr. Bergonzi testified that “analysts” determine whether deductions apply

   and, if so, they enter a yes or no in a column titled G&C which is Gathering and Compression

   and another column titled Taxes where they enter a yes or no as to whether taxes are to be

   deducted. Id. 16 (See also, Bergonzi Deposition, Exh. 62F, Exh. 6, 2015 G&C Worksheet.) 8




   7 Mr. Bergonzi was deposed on July 19, 2016, as a Fed.R.Civ.P. 30(b)(6) witness. (Exh. 5, Notice of
   Deposition.)
   8 Bergonzi Deposition, Exh. 62F is for 2015; 2009-2014 are deposition exhibits 62-62E.


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            All the information lessors are provided concerning deductions are “Deductions” and

   Taxes. However, there are numerous other codes which identify specific items beyond G&C and

   taxes. Id. 33-35. (See Exh. 7, plaintiffs’ royalty statements.) The Lease Analysts are provided

   training by EQT and guidelines 9 as to how to categorize the leases as to whether and what to

   deduct. Id. 144. Mr. Bergonzi, the 30(b) witness, claimed he had not reviewed the guidelines

   and couldn’t answer questions related to same. 10

            As a result of Tawney, EQT undertook to review the leases through an outside counsel.

   After this review, EQT changed nothing and continued to take deductions the same way except

   with respect to EQT’s claim that they do not take deductions from proceeds leases. Id. 40-41;

   43-44.

            In 2008, the defendants prepared a list of leases and categorized them. 11 Id. pp. 39-41.

   See List of Leases, Exh. 9, Deposition Exh. 63, p. 58 and Group of Leases, Exh. 10, Deposition

   Exh. 64, pp. 64-68. The groups 12 were:

           1.     WV - SILENT LS 01_08; All West Virginia leases with royalty clauses which
   were silent with regard to the taking to deductions

            2.       WV - FLAT LS 01-08; All West Virginia leases with flat rate royalty clauses

           3.     WV Market Value – Silent on Deducts; All West Virginia leases with market
   value royalty clauses which are silent with regard to the taking of deductions

           4.      WV - ALLOWS LS 01_08; All West Virginia leases with royalty clauses which
   specifically allow post production deductions



   9  Defendants were requested to produce these guidelines, but never have. (See Exh. 8, Request for
   Documents.)
   10 Importantly, plaintiffs have never been provided the guidelines in discovery and first learned of their

   existence on July 19, 2016, at Mr. Bergonzi’s deposition.
   11 Defendants refused producing Exh. 9 and Exh. 10, Bergonzi Deposition Exh. 63 and 64, until a Court

   Order was entered.
   12 In addition, there are several other categories that are for specific companies which have similar categorizations

   such as “WV-McDonald 300554,” a WV lease with W.W. McDonald Company.


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          5.     WV Leases that allow deducts 081009; All West Virginia leases with royalty
   clauses which allow post production deductions

          6.      WV- FIXED LS 01_08; All West Virginia leases with fixed rate royalty clauses

          7.      WV Flat Rate; All West Virginia leases with flat rate royalty clauses

           8.     WV Proceeds Lease – Silent on Deducts; All West Virginia leases with proceeds
   royalty clauses which are silent with regard to the taking of deductions

           9.     WV Proceeds Lease – Allow Deducts; All West Virginia leases with proceeds
   royalty clauses which allow the taking of deductions

          10.     WV - Fixed Rate; All West Virginia leases with fixed rate royalty clauses

          11.     WV - Mixed Rate; All West Virginia leases with royalty clauses which were
   hybrids of other types of clauses

           12.    WV Proceeds Lease – Prohibits Deducts; All West Virginia leases with proceeds
   royalty clauses which prohibit the taking of post-production deductions

          Plaintiffs in this case also have characterized the leases. As previously set forth in

   various motions, defendants have been aggressively recalcitrant 13 in providing their own

   categories, regardless of West Virginia law which requires that if a lessee wishes to take

   deductions from royalty, they must prove, by evidence of the type normally developed in legal

   proceedings requiring an accounting, that he, the lessee, actually incurred such costs and that

   they were reasonable.” Syllabus Point 5, Wellman v. Energy Resources, Inc., 210 W.Va. 200,

   557 S.E.2d 254 (2001). (Emphasis added.) Tawney, Syl. 2.

          Plaintiffs’ categorization of leases are based upon the common royalty language, e.g.,

   “amount realized” or “market value.”         (Exh. 11, “Lease Categorization, Table A.”          The

   deductions are not shown on this table for brevity. However, see Sample Deductions on Table

   B. Defendants set about after Tawney to re-lease many of the leasehold in order to be able to


   13Plaintiffs have filed several motions to compel documents and discovery. Plaintiffs’ Motions to
   Compel, (Doc. Ids. 69, 148, 180.) The Courts’ Orders with respect to plaintiffs’ motions to compel are
   (Doc Ids. 117, 207, 232, 238, 242)

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   take deductions. These leases for the most part are identified on Table A, C-1, Exh. 11,) there

   are approximately 4000 with the same or similar royalty clauses, and with the same or similar

   deduction language. Table B shows sample deduction language for some of these leases. (Exh.

   12, Table B-1.) Importantly, if defendants had complied with their duty under Fed.R.Civ.P. and

   answered plaintiffs’ discovery, plaintiffs lists could have been final a long time ago.

          From the data and working with the data, the Court can decide one lease which will

   perhaps solve approximately 4000. (Exh. 13, Reineke deposition, pp. 145-148.) The Court can

   resolve one flat rate lease and solve approximately 2000 leases, one market value lease and solve

   approximately 1200 and so forth. The judicial economics of the procedure is significantly in

   favor of handling these claims by class action.

          4.      EQTS’ Concerted Action and Joint Venture - “At the Wellhead Price”/Fraud

          Mr. Bergonzi testified that “our view now is that ---that the gas is sold at the wellhead

   and that these deducts are shown so that we can calculate back an approximate market value at

   the wellhead, even though we don’t consider them to be deducts.” (Exh. 3b, Bergonzi

   Deposition, p. 149.) He then stated that the deductions which are shown on the “remittance

   advice” was and is done for “transparency” so that no one could say we’re hiding the ball.” Id.

          Therefore, the point of sale was changed by EQT in 2005, during the Tawney case, from

   the interstate pipeline to the wellhead, solely to mislead the lessors and to decrease the price and

   short its own West Virginia lessors by paying them on a fraudulent price. Id. 98-99.

          5.      Proxy Price

          Defendants then argue that EQT are entitled to pay royalty at a reduced value “at the

   wellhead” because it sells its gas to a sister company. Mr. Bergonzi admitted that the price at the

   wellhead which is where they pay for the gas is less than market value at the interstate pipeline.


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   Id. 111. Mr. Bergonzi explained the process and how they rationalize their decision and practice

   of paying the lessors at a reduced value:

          “So the value at the well head, how we calculate that at EQT Production is
          we take the proceeds at the first liquid trading point, deduct the costs to get it
          to that trading point and consider that a PROXY for what the market value
          would be at the well head.” Id. 111. (emphasis added.)

          The only logical reason for changing the point of sale was to attempt to fraudulently

   conceal the fact that defendants were intending to claim that, as they did in McDonald, supra,

   that they sell the gas at the wellhead and therefore, claim they are authorized to take deductions.

          EQT Energy has contracts for purchase of the gas with EQT Production. Id. pp. 101,

   131. The contract provides that the price is for the first of the month Index Price applicable to

   the interstate pipeline, less prevailing gathering related charges and less retainage, less any other

   agreed applicable fees or charges. The EQT Energy contract is signed by John Bergonzi, Vice

   President and Corporate Controller and Assistant Treasurer of EQT Corporation and Phillip

   Conti, Vice President and CFO of EQT Corporation and also they are Assistant Treasurers of

   EQT Production and Energy. (Exh. 15, EQT Energy Contract, Exh. 25, SEC 10-K,) indicating

   its own liability and control, concerted action, joint venture, and alter ego relationship between

   and among all the defendants.

          6.      The Deductions are not Reasonable or Actual

          Dan Selby is an accountant with extensive experience in business and accounting. He

   was asked to review the records provided to determine whether the cost of service rate was

   reasonable and actual. He determined summarily that they were neither reasonable nor actual

   because they were based upon “estimated costs and expenses” or “forecasts.” He then reviewed

   the record of that accounting and other documents and depositions performed in this case. He

   learned that there are many elements of deductions which should not be included in the cost of

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   service rate and that it violates accepted business practices of West Virginia in taking deductions.

   (Exh. 19, Selby Affidavit, p. 6.) Incentive compensation, bad debts, corporate airplane costs,

   legal settlements, corporate allocated costs, profits, etc. should not be charged to the plaintiffs.

   And, any tax effect should be credited to plaintiffs. Id. pp. 7-8. Further, EQT lumps all costs

   into one basket from a variety of separate and distinct corporate entities, including the other

   defendants who claim to be independent. Id. pp. 8-9.

          7.      Defendants Violated Plaintiffs’ Leases

          Dan Reineke is a petroleum engineer with extensive experience in the oil and gas

   industry. Mr. Reineke analyzed EQT and subsidiaries and their conduct. Among other opinions

   he stated that the following:

          1.      The defendants’ deductions are not reasonable nor actual because they simply
                  estimate them and don’t “true them up.” Id. 85-88.

          2.      95% of all royalty owners had deductions taken. The other 5% appeared to be
                  large landowners. (Exh. 23, Reineke Affidavit, p. 17.)

          3.      Defendants are not paying royalty owners the index price that it claims. It is
                  paying them 5% less than index or average. (Exh. 23, Reineke Affidavit, p. 13;
                  Exh. 13, Reineke Deposition, pp. 56-158.)

          4.      Defendants claimed volume less is unreasonable coming in at more than twice the
                  average for West Virginia. (Exh. 13, Reineke Deposition, pp. 120, 153, 166.)

          5.      The defendants’ deductions for SG&A (overhead) from EQT Corporation is not a
                  reasonable deduction to the plaintiffs. (Exh. 13, Reineke Deposition, pp. 151-
                  152.)

          6.      Lessors are entitled to be paid for NGL’s. (Exh. 23, Reineke Affidavit, p. 15.)

          7.      EQT does not pay for NGL’s. Id. 15.

          8.      Sale of gas to EQT Energy was not an arms-length transaction.

          9.      Mr. Reineke also explained the rationale for managing these claims by class
                  action litigation. (Exh. 23, Reineke Deposition, pp. 146-147.


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          Defendants have violated class-wide Tawney requirements. They have and continue to

   take wrongful deductions from plaintiffs’ royalty payments, fail to pay plaintiffs for the volume

   of natural gas produced from plaintiffs’ gas reserves and that, regardless of whether the lease

   may recite that some specific deductions may be allowed to be taken, the deductions are

   ineffective under the requirements for leases in West Virginia set forth in Wellman v. Energy

   Resources, Inc., 210 W.Va. 200, 557 S.E.2d 254 (2001) and Tawney v. CNR, 219 W.Va. 266,

   633 S.E.2d 22, (hereinafter “Tawney.”) (a) The charges are not “actual” costs related to the items

   listed in the lease; (b) The deductions are not “reasonable” and (c) The leases nowhere describe

   how the charges or deductions are to be calculated by a “method specific” in the lease. Syllabus

   points 2 and 10 of Tawney. Some of the subject leases have itemized lists of subject matter that

   defendants state are to be deducted. However, defendants nowhere in the leases identify a

   method for calculating the amount to be deducted, as required by Tawney. While Mr. Piccirilli,

   defendants’ 30(b)(6) witness, explained the general method as to how the costs of service were

   calculated, he then testified that “the production “revenue accounting team” would make the

   final decision as to what would be charged to royalty owners. In other words, he didn’t know.

   (Exh. 16, Deposition of Joe Piccirilli, pp. 19, 22.)

          7.      Defendants’ Deductions Are Not Actual Because They Are Estimates

          At the outset, defendants fail in one of the key holdings in Tawney, which is that the

   deductions must be “actual” costs.        Mr. Bergonzi, one of defendants’ F.R.C.P. 30(b)(6)

   witnesses, testified that the rates plaintiffs were charged as deductions are “estimates” of what

   defendants forecast might be their “cost of service” for gathering the gas from well to market or

   point or sale. Defendants did this by averaging the total cost (“revenue” for EQT Gathering,)

   which each subsidiary of EQT (including defendant subsidiaries,) “bargains” for during the


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   business planning process for the next year. (Exh. 3, Deposition of Bergonzi, p. 40.) This

   “bargaining” is between and among defendants’ subsidiaries and EQT Corporation and is not

   arms-length. Id. 40. Then, after estimating a rate to be charged, defendants do not conduct an

   audit or accounting to determine whether there is an amount to be credited to the royalty owners

   for overcharging them. Id. 48. And the royalty owners do not get a refund or reimbursement

   when they are overcharged. Id. 48-49.

          Further, Mr. Piccirilli’s group follows the accuracy of that information on a monthly

   basis. “[W]e are comparing actuals to that business plan. Both Midstream and Production

   would do that.” (Exh. 16, Deposition of Piccirilli, p. 29.) Mr. Piccirilli explained where the

   costs come from, Midstream, O & M which is operations and maintenance, Id. 35-36, pipeline

   and compression, indirect operating costs, field measurement, overhead, shared service costs, S

   G & A which is Selling, General and Administration costs. Id. 33. It would also include the

   corporate function charges. Id. 37. Further, Mr. Piccirilli stated, “what makes up O & M, there

   could be a laundry list of specific costs that would go into that O & M line item.” Id. 36. It

   would include “ a lot of costs that I may not see the specific details.” Id. 37. Mr. Piccirilli stated

   he would have to look at documents in order to provide “specific detail, line item by line item.”

   Id. 36. However, the line items are determined as part of the “plan process.” Id. 36.

          8.      The Royalty and Deductions are Common in the Defendants’ Three Districts

          There are 3 EQT districts in West Virginia: Weston, Brenton and Madison. Each district

   ultimately ends up with a gathering rate which is different as to each district, but is a constant

   from year to year in that particular district for all royalty owners within that district a postage

   stamp rate. Id. 113. These costs are not actual and they are not reasonable. Mr. Cather, now

   deceased, was charged as much as 74.4% for deductions for royalty and Kay Company was


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   charged as must as 25%. (Exh. 17, Deposition of Dotson Cather, p. 42; Exh. 18, Deposition of

   Chris Thomas, p. 18.) Further the costs that go into the rate for royalty owners includes the

   kitchen sink and comes from all quarters, including corporate headquarters and most all

   subsidiaries and business groups of EQT Corporation, who play any part in operations. The list

   includes bonuses, educational costs, professional dues, tuition reimbursements, meals,

   entertainment, cell phone costs, conferences, seminars and training. (Exh. 16, Deposition of

   Piccirilli, p. 56; Exh. 19, Affidavit of Dan Selby.) They are forecasts. Id. 54.

          Therefore, not only do defendants fail to indicate on the leases information as to how to

   calculate the deductions, they do not disclose this methodology to plaintiffs. Therefore, since

   defendants credited itself with estimates - not actual costs - and with unreasonable costs and

   never indicated in the leases since this litigation has ensued, the “method of calculating” the

   credit it took from the lessors, the lessees are not entitled to credit for any of the deductions.

   IV. LEGAL ANALYSIS

          The claims and causes of actions being asserted by Plaintiffs when conducting its class-

   certification analysis under Rule 23 of the Federal Rules of Civil Procedure provides a

   background of the courses of action and elements of proof for the common issues. Plaintiffs will

   briefly discuss the elements of their various claims before turning to the analysis required by

   Rule 23 below:

          A.      Defendants are Liable as a Result of Vicarious or Imputed Liability

          Plaintiffs have asserted several alternative theories of vicarious or imputed liability

   against the Defendants, including claims of alter ego, joint venture, and agency. None of these

   claims of vicarious or imputed liability should preclude class certification under Rule 23 because

   they would all involve common issues concerning the Defendants’ relationships and agreements


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   between one another and not involve any individualized issues concerning any uncommon or

   unique interactions with any members of the proposed class.

                   1.      EQT Corporation is the Alter Ego of its Subsidiaries

           As to the claim of an alter ego relationship, while the law presumes that two separately

   incorporated businesses are distinct entities, however, this presumption is disregarded when a

   parent corporation or shareholder dominates and controls a corporation and the corporate form is

   being used to perpetrate injustice, defeat public convenience, or justify wrongful or inequitable

   conduct. See Laya v. Erin Homes, Inc., 177 W.Va. 343, 347-48, 352 S.E.2d 93, 97-99 (1986).

   The West Virginia Supreme Court of Appeals has set forth non-exhaustive lists of factors

   relevant to determining whether such an “alter ego” relationship exists so as to justify piercing

   the corporate veil. Norfolk Southern Ry. Co. v. Maynard, 190 W.Va. 113, 118, 437 S.E.2d 277,

   282 (1993) (discussing relevant factors between parent and subsidiary corporations); Laya v.

   Erin Homes, Inc., 177 W.Va. at 347-48, 352 S.E.2d at 98-99 (discussing 19 relevant factors

   between shareholder and corporation); Southern Electrical Supply Co. v. Raleigh County

   National Bank, 173 W.Va. 780, 788, 320 S.E.2d 515, 523 (1984) (setting forth relevant factors to

   consider); Southern States Cooperative, Inc. v. Dailey, 167 W.Va. 920, 929-30, 280 S.E.2d 821,

   827 (1981) (discussing relevant factors). 14


   14"(1) Whether the parent corporation owns all or most of the capital stock of the subsidiary;
   "(2)     Whether the parent and subsidiary corporations have common directors and officers;
   "(3)     Whether the parent corporation finances the subsidiary;
   "(4)     Whether the parent corporation subscribes to all the capital stock of the subsidiary or otherwise
   causes its incorporation;
   "(5)     Whether the subsidiary has grossly inadequate capital;
   "(6)     Whether the parent corporation pays the salaries and other expenses or losses of the subsidiary;
   "(7)     Whether the subsidiary has substantially no business except with the parent corporation or no
   assets except those conveyed to it by the parent corporation;
   "(8)     Whether in the papers of the parent corporation or in the statement of its officers, the subsidiary
   is described as a department or division of the parent corporation, or its business or financial
   responsibility is referred to as the parent corporation's own;
   "(9)     Whether the parent corporation uses the property of the subsidiary as its own;

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              A.        Equitable Corporation Is The Alter Ego Of Equitable Production Company

              EQT Corporation is the alter ego of EQT Production and the remaining subsidiary

   defendants. Therefore, contrary to defendants’ argument, EQT Corporation is the real party in

   interest and it is deemed just as, if not more, responsible as Production. Since all defendants

   were involved in a joint effort to take and use plaintiffs’ royalty for its operating expenditures,

   then all are liable under theories of alter ego, joint venture and agency.                                When a parent

   corporation or shareholder dominates and controls a corporation, the parent may be deemed

   under the law to be an alter ego of the subsidiary. See Laya v. Erin Homes, Inc., 352 S.E.2d 93,

   97-98 (W.Va. 1986). 15

              EQT Corporation, Inc. is a publicly traded Pennsylvania Corporation. Attached are

   corporate subsidiary organizational charts for EQT Corporation.                            Exh. 20 is the last one

   produced by defendants for 2014. Exh. 21 includes all organizational charts from 2009 to 2014.

   As can be seen, EQT Corporation changes the subsidiary organization frequently, but its method

   of operating has remained essentially the same. It has a corporate or limited liability company to

   perform most every function, yet controls its operations through its own officers and board of

   directors.        In other words, its subsidiaries are merely departments or divisions of EQT

   Corporation, all of which report to it.

              Defendants offered Jimmy Sue Smith as a F.R.C.P. 30(b)(6) witness to testify about the

   intercompany (subsidiary) arrangements between EQT Corporation and its subsidiaries and

   among all subsidiaries and EQT Corporation. (Exh. 2, Deposition of Smith.) Ms. Smith

   testified that she was Vice President and Controller of Midstream and Commercial companies.

   "(10) Whether the directors or executives of the subsidiary do not act independently in the interest of the
   subsidiary but take their orders from the parent corporation in the latter's interest; and
   "(11) Whether the formal legal requirements of the subsidiary are not observed. [Citation omitted.]"
   15
        The factors relevant to establishing an alter-ego relationship will be discussed more fully infra.

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   Id. at 11. She is also responsible for Midstream Partners which is a publicly traded entity. She

   is also responsible for EQT Corporate Accounting which then would include all of EQT. Id. at

   12. All of EQT Corporation’s and subsidiary’s financial statements are consolidated as was the

   tax returns. Id. 13-14. The offices for all of Corporate and subsidiaries are located in one office

   complex in Pittsburgh, except for EQT Investments and a few other small subsidiaries. Id. at 14.

   “Each business has at least one floor” in this building. Id. at 14. Ms. Smith attended the

   subsidiary audit committee meetings and board of directors meetings of EQM (Midstream) and

   EQT. Id. at 15. See also Id. pp. 151-153; See Exhibit 5, Smith deposition.

          EQT Investment (EQTI) finances the intercompany loans. Id. at 19. “We paper the loans

   for like large amounts of money.” Id. at 19. If a subsidiary needed operating cash, EQTI would

   provide them money. These loans would be “eliminated when you get to the consolidated level.”

   Id. at 19-22. Mr. Bergonzi was another F.R.C.P. 30(b)(6) witness. When asked how EQT

   Corporation gets its money, he testified that:

          A.      Well, the subsidiaries pay – can pay dividends to the corporation. The
                  corporation is actually the entity that borrows money from the public, so if
                  there is a bond issue, that money comes into EQT Corporation and is
                  passed down through inter-company loans. So it is just like any other set
                  of companies accounted for. Separately, there’s receivables and payables.
                  There’s interest bearing loans. There’s dividends paid. There’s payment
                  for expenses and fees.

          (Exh. 3, Deposition of Bergonzi, pp. 121-122.)

          EQT subsidiary officers were common to all of the subsidiaries. They reported to EQT

   Corporation’s officers. For example, EQT Gathering’s president was Randy Crawford. Randy

   Crawford, above, was also senior vice president of EQT Corporation.               (Exh. 2, Smith

   Deposition, pp. 68, 69, 92, 94-95.) Mr. Crawford was also president of EQT Energy and he

   reported directly to Dave Porges, who was president and CEO of EQT Corporation. Id. 66.


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   Nicole King was secretary of essentially all of the subsidiaries. (Exh. 22, Deposition of King, p.

   6.) Even the publicly traded EQM Partners was controlled by EQT Corporation. Its employees

   ran the partnership and four of the seven directors were EQT Corporation employees or officers.

   (Exh. 2, Smith Deposition, pp. 155-156.) EQT operates also through business segments or

   “groups” which cross corporate and subsidiary boundaries. Id. 159-160. (See also, Exh. 3,

   Bergonzi Deposition, pp. 182-183.

          The above factors in the Maynard case fit this case. EQT Corporation owns all of the

   stock of all the subsidiaries. They have more than merely common directors and officers. The

   officers of the subsidiaries actually report to the CEO and President of EQT Corporation. The

   subsidiary defendants are financed by loans from EQT Corporation and the taxes and financial

   statements are consolidated. EQT Corporation caused the incorporation of the subsidiaries and

   the subsidiaries even depend on EQT Corporation for approval of even their budgets and

   business plans. They are required to meet with other subsidiaries and bargain for what they can

   get the next year and what they can expend and then, every budget and business plan must be

   approved by EQT Corporation. EQT Corporation obviously borrows money and passes it down

   as loans and there are inter-subsidiary loans and it is therefore liable ultimately for the

   subsidiaries’ losses and pays the parent its dividends. Essentially, all of defendants’ business is

   with EQT Corporation or sister companies. EQT Corporation refers to its subsidiaries as

   “groups” and business segments. They are in the same building as the parent. A review of EQT

   Corporation’s SEC 10K demonstrates that it refers to all subsidiary business as its own, and

   subsidiary officers do not and cannot act independently of the parent and they actually report to

   the Corporate officer.




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           Therefore, plaintiffs have alleged and provided more than sufficient evidence that EQT

   Corporation is the alter ego of the subsidiary defendants and that EQT Corporation is liable for

   all acts of subsidiaries.

   Defendants are Engaged in a Joint Venture

           As to a claim of joint venture, “[a] joint venture or, as it is sometimes referred to, a joint

   adventure, is an association of two or more persons to carry out a single business enterprise for

   profit, for which purpose they combine their property, money, effects, skill, and knowledge. It

   arises out of a contractual relationship between the parties. The contract may be oral or written,

   express or implied.” Syl. Pt. 2, Price v. Halstead, 177 W.Va. 592, 355 S.E.2d 380 (1987).

   Accord Syl. Pt. 4, Sipple v. Starr, 205 W.Va. 717, 520 S.E.2d 884 (1999). Applying principles

   of general agency law, the tort liability of one participant of a joint venture is imputed to all

   participants. See id.; 46 Am. Jur.2d, Joint Ventures, §§ 57 & 58. See also Alban Tractor Co. v.

   Sheffield, 220 Va. 861, 863, 263 S.E.2d 67, 68 (1980) (discussing joint enterprise).

           A joint venture existed here if the Court finds that the defendants are independent of EQT

   Corporation or are not alter egos. They cannot be as involved as the facts demonstrate and either

   be acting as departments of EQT Corporation or as venturers. They all receive part of the

   compensation from the budget of the cost of service. They take direction from EQT Corporation

   and Corporation approves their own budgets and even must approve the cost of service rate for

   deductions.

   AGENCY

           The subsidiary defendants were agents of Corporation. The term “agency,” in its legal

   sense, always imports commercial or contractual dealings between two parties by and through

   the medium of another. In an agency relationship, ... the one who acts for and represents the


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   principal, and acquires his authority from him, is known and referred to as an “agent.”’” State ex

   rel. Clark v. Blue Cross Blue Shield of West Virginia, Inc., 203 W.Va. 690, 714, 510 S.E.2d 764,

   788 (1998) (quoting 3 Am.Jur.2d Agency § 1, at 509-10 (1986) (footnotes omitted))); Harper v.

   Jackson Hewitt, Inc., 277 W.Va. 142, 154, 706 S.E.2d 63, 75 (2010) (same). Under general

   principles of agency law, a principal is liable for the acts, conduct and omissions of its agent

   committed within the scope of his agency. Syl. Pt. 3, Musgrove v. Hickory Inn, Inc., 168 W.Va.

   65, 281 S.E.2d 499 (1981). Accord Syl. Pt. 3, Barath v. Performance Trucking Co., Inc., 188

   W.Va. 367, 424 S.E.2d 602 (1992).

   Defendants Breach Their Contract with Plaintiffs

          “A claim for breach of contract requires proof of the formation of a contract, a breach of

   the terms of that contract, and resulting damages.” Sneberger v. Morrison, 235 W.Va. 654, 669,

   776 S.E.2d 156, 171 (2015).

          Defendants clearly owed a duty to plaintiffs to pay plaintiffs according to the law of West

   Virginia, given their leases. Tawney holds that the leases are subject to an implied covenant to

   transport and market the gas to the market and bear the costs. We know they didn’t comply with

   all of Tawney’s requirements, they took deductions by “estimates without true ups and they took

   deductions where the leases did not describe a method for calculating deductions, they did not

   pay the full index price and they provided a false statement of sale price and they failed to pay

   for liquids and they failed to pay for NGL’s. These were all breaches of contract and was all

   clearly intentional because they intentionally set up a sister subsidiary to “purchase” the gas “at

   the wellhead” and then falsely claimed it was an actual arms-length sale. They breached the

   contract.




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   Defendants are Liable for Civil, Actual and Constructive Fraud

            As to a claim of fraud,

            “The essential elements in an action for fraud are:
            `(1) that the act claimed to be fraudulent was the act of the defendant or induced
            by him; (2) that it was material and false; that plaintiff relied on it and was
            justified under the circumstances in relying upon it; and (3) that he was damaged
            because he relied on it.’ Horton v. Tyree, 104 W.Va. 238, 242, 139 S.E. 737
            (1927).” Syl. Pt. 1, Lengyel v. Lint, 167 W.Va. 272, 280 S.E.2d 66 (1981).

   Syl. Pt. 5, Kidd v. Mull, 215 W.Va. 151, 595 S.E.2d 308 (2004).

            The West Virginia Supreme Court of Appeals has also held:

            “’an action for fraud can arise by the concealment of truth.’” Teter [v. Old
            Colony Co., 190 W.Va. 711, 717, 441 S.E.2d 728, 734 (1994)] (quoting Thacker
            v. Tyree, 171 W.Va. 110, 113, 297 S.E.2d 885, 888 (1982)). Such a basis for a
            claim of fraud is possible because “[f]raud is the concealment of the truth, just as
            much as it is the utterance of a falsehood.” Frazier v. Brewer, 52 W.Va. 306,
            310, 43 S.E. 110, 111 (1902). . . .

   Kessel v. Leavitt, 204 W.Va. 95, 127, 511 S.E.2d 720, 752 (1998).

            “Fraudulent concealment involves the concealment of facts by one with knowledge or the

   means of knowledge, and a duty to disclose, 16 coupled with an intention to mislead or defraud.”

   Trafalgar House Const., Inc. v. ZMM, Inc., 211 W.Va. 578, 584, 567 S.E.2d 294, 300 (2002)

   (citing Silva v. Stevens, 156 Vt. 94, 589 A.2d 852, 857 (1991)).

                    Generally speaking, “[f]raud has been defined as including all acts,
            omissions, and concealments which involve a breach of legal duty, trust or
            confidence justly reposed, and which are injurious to another, or by which undue
            and unconscientious advantage is taken of another.” Stanley v. Sewell Coal Co.,
            169 W.Va. 72, 76, 285 S.E.2d 679, 682 (1981) (citations omitted). Accord Dickel
            v. Smith, 38 W.Va. 635, 641, 18 S.E. 721, 723 (1893).

   Kessel v. Leavitt, 204 W.Va. at 127, 511 S.E.2d at 752.
   16
     Several circumstances or relationships may create a duty to disclose, including, but not necessarily limited to,
   when a defendant is in a fiduciary relationship with the plaintiff; when the defendant had exclusive knowledge of
   material facts not known to the plaintiff; when the defendant actively conceals a material fact from the plaintiff; and
   when the defendant makes partial representations but also suppresses some material facts. See, e.g., 37 Am. Jur.2d
   §§ 200, 204 & 205; Restatement (Second), Torts § 551; 26 Willston on Contracts § 69:17 (4th ed.); Okland Oil Co. v.
   Conoco Inc., 144 F.3d 1308, 1324 (10th Cir. 1998) (discussing cases); Pospisil v. Pospisil, 757 A.2d 655 (Conn.
   2000); Wilkins v. National Broadcasting Co., Inc., 84 Cal. Rptr.2d 329 (2d Dist. 1999).

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          However, as to the scope and breadth of fraudulent acts and omissions, the West Virginia

   Supreme Court of Appeals has held that fraud, in its general sense, is deemed to comprise

   anything calculated to deceive, including all acts, omissions, and concealments involving a

   breach of legal or equitable duty, trust, or confidence justly reposed, resulting in damage to

   another, or by which an undue and unconscientious advantage is taken of another. Wallace v.

   Wallace, 170 W.Va. 146, 147-48, 291 S.E.2d 386, 387-88 (1982). See also Hale v. Hale, 62

   W.Va. 609, 59 S.E. 1056, 1061 (1907.) And West Virginia has long held that fraud may be

   proven by circumstantial evidence as well as direct evidence. Indeed, the Court has noted that

   circumstantial evidence may be the only evidence of fraud. Ridenour v. Roach, 77 W.Va. 551,

   87 S.E. 881, 883 (1916)

          Fraud by concealment is easily proven in this case. Plaintiffs were provided statements

   which were false, with a false price, volume and deductions. Defendants intentionally entered

   into a scheme with its subsidiaries and “groups” of employees, including its own, to overcharge

   plaintiffs deductions in order to pay less royalty and to keep some of plaintiffs’ royalty. The

   royalty was also shorted. This was concealed from plaintiffs.

                 Overall Principles Governing Rule 23 Class-Certification Analysis

          “A party seeking class certification must satisfy the requirements found in Federal Rule

   of Civil Procedure 23(a) and also demonstrate satisfaction of at least one of the subdivisions

   found in Rule 23(b).”      Good v. American Water Works Co., Inc., 310 F.R.D. 274, 283

   (S.D.W.Va. 2015) (citing Amchem Prods., Inc. v. Windsor, 521 U.S. 591, 614, 117 S.Ct. 2231,

   138 L.Ed.2d 689 (1997); Deiter v. Microsoft Corp., 436 F.3d 461, 466 (4th Cir.2006)). Accord

   Monroe v. City of Charlotesville, 579 F.3d 380, 384 (4th Cir. 2009); Rubenstein, 3 Newberg on

   Class Actions § 7:18 (5th ed.).


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          Provisions of Rule 23 (a) and (b) are set out below. This litigation qualifies for class

   action approval.

          RULE 23(a)
          (a) Prerequisites. One or more members of a class may sue or be sued as
          representative parties on behalf of all members only if:
          (1) the class is so numerous that joinder of all members is impracticable;
          (2) there are questions of law or fact common to the class;
          (3) the claims or defenses of the representative parties are typical of the claims or
          defenses of the class; and
          (4) the representative parties will fairly and adequately protect the interests of the
          class.
          RULE 23(b)(3)
          (b) Types of Class Actions. A class action may be maintained if Rule 23(a) is
          satisfied and if:
          ....
          (3) the court finds that the questions of law or fact common to class members
          predominate over any questions affecting only individual members, and that a
          class action is superior to other available methods for fairly and efficiently
          adjudicating the controversy. The matters pertinent to these findings include:
          (A) the class members’ interests in individually controlling the prosecution or
          defense of separate actions;
          (B) the extent and nature of any litigation concerning the controversy already
          begun by or against class members;
          (C) the desirability or undesirability of concentrating the litigation of the claims in
          the particular forum; and
          (D) the likely difficulties in managing a class action.
          RULE 23(c)(4)
          (c) Certification Order; Notice to Class Members; Judgment; Issues Classes;
          Subclasses
          ....
          (4) Particular Issues. When appropriate, an action may be brought or maintained
          as a class action with respect to particular issues.



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   Fed. R. Civ. P. 23(a), (b)(3), (c)(4). See generally Thorn v. Jefferson-Pilot Life Ins. Co., 445

   F.3d 311 (4th Cir. 2006); Good, 310 F.R.D. at 283.

          In addition to satisfying the foregoing standards under Rule 23, the class must be
          ascertainable. Our court of appeals observed long ago that “[i]n order to
          determine whether a class action is proper, the district court must determine
          whether a class exists and if so what it includes. Although not specifically
          mentioned in the rule, the definition of the class is an essential prerequisite to
          maintaining a class action.” Roman v. ESB, Inc., 550 F.2d 1343, 1348 (4th
          Cir.1976). That settled principle of case law, in a nutshell, defines the concept of
          ascertainability. In 2003, the long-implicit concept of ascertainability was added
          to Rule 23(c)(1)(B), providing that “[a]n order that certifies a class action must
          define the class ....” Fed. R. Civ. P. 23(c)(1)(B).

   Good, 310 F.R.D. at 284. See, e.g., Kingery v. Quicken Loans, Inc., 300 F.R.D. 258, 264

   (S.D.W.Va. 2014) (“The class definition must be ‘sufficiently definite so that it is

   administratively feasible for the court to determine whether a particular individual is a member.’

   Charles Alan Wright & Arthur R. Miller, 7A Federal Practice & Procedure § 1760 (3d ed.

   2009).”); Solo v. Bausch & Lomb, Inc., 2009 WL 4287706, * 4 (D.S.C. 2009); Kirkman v. North

   Carolina R. Co., 220 F.R.D. 49, 53 (M.D.N.C. 2004). See also, EQT Production Co. v. Addair,

   2014 WL 4070457, *7 (4th Cir. 2014).

          When conducting a Rule 23 analysis, it is important to recognize that although the United

   States Supreme Court holds that the Court is not to decide the merits of the case:

          cautioned that a court’s class-certification analysis must be “rigorous” and may
          “entail some overlap with the merits of the plaintiff’s underlying claim,” Wal–
          Mart Stores, Inc. v. Dukes, 564 U.S. ––––, ––––, 131 S.Ct. 2541, 2551, 180
          L.Ed.2d 374 (2011) (internal quotation marks omitted), Rule 23 grants courts no
          license to engage in free-ranging merits inquiries at the certification stage. Merits
          questions may be considered to the extent—but only to the extent—that they are
          relevant to determining whether the Rule 23 prerequisites for class certification
          are satisfied. See id., at ––––, n. 6, 131 S.Ct., at 2552, n. 6 (a district court has no
          “‘authority to conduct a preliminary inquiry into the merits of a suit’” at class
          certification unless it is necessary “to determine the propriety of certification”
          (quoting Eisen v. Carlisle & Jacquelin, 417 U.S. 156, 177, 94 S.Ct. 2140, 40
          L.Ed.2d 732 (1974))); Advisory Committee’s 2003 Note on subd. (c)(1) of Fed.


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            Rule Civ. Proc. 23, 28 U.S.C.App., p. 144 (“[A]n evaluation of the probable
            outcome on the merits is not properly part of the certification decision.”).

   Amgen Inc. v. Connecticut Retirement Plans and Trust Funds, ___ U.S. ____, 133 S.Ct. 1184,

   1194-95, 185 L.Ed.2d 308 (2013) (emphasis added). Accordingly, “’[t]he likelihood of the

   plaintiffs’ success on the merits ... is not relevant to the issue of whether certification is proper.’”

   Good, 310 F.R.D. at 284 (quoting Thorn, 445 F.3d at 319). See also Comcast Corp. v. Behrend,

   ___ U.S. ____, 133 S.Ct. 1426, 1432-33, 185 L.Ed.2d 515 (2013) (noting that the rigorous

   analysis required by Rule 23 may “’overlap with the merits of the plaintiff’s underlying claim’”

   because “’”the class determination generally involves considerations that are enmeshed in the

   factual and legal issues comprising the plaintiff’s cause of action.”’” (quoting Wal–Mart Stores,

   Inc. v. Dukes, 131 S.Ct. at 2551 (internal citations omitted))); Good, 310 F.R.D. at 284-85.

            “Throughout the inquiry, it is important to bear in mind that Rule 23 should receive ‘a

   liberal, rather than a restrictive, construction ... [with] a standard of flexibility that will “best

   serve the ends of justice for the affected parties and ... promote judicial efficiency.”’ Gunnells v.

   Healthplan Services, Inc., 348 F.3d 417, 424 (4th Cir.2003).” Good, 310 F.R.D. at 285. Accord

   Black v. Rhone-Poulenc, Inc., 173 F.R.D. 156, 159 (S.D.W.Va. 1996) (“The recent trend in class

   certification decisions is to interpret Rule 23 flexibly and give it a liberal construction.” (citations

   omitted)).

            A.     The Class is Ascertainable

            West Virginia has established an objective criteria and a standard for lessees to follow

   before they are allowed to take credits off of plaintiffs’ royalty. Plaintiffs’ evidence is that

   defendants violated the requirements of Tawney and that the violations were across the entire

   class.




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          The plaintiffs class includes defendants’ lessors over a specific period of time beginning

   on December 8, 2008, which is the ending date for a previous class action settlement. The

   plaintiffs are lessors of EQT. The defendants’ databases, called Enertia, contains the name,

   address, lease and well number and ownership interest in the lease of each lessor, the history of

   each lease and the volume of production of natural gas from each well on each lease during each

   month of production, the price per dekatherm applied to each lessor’s production, the amount

   deducted from the royalty and the amount paid to each lessor which is the gross royalty minus all

   deductions. In addition, the system allegedly contains defendants’ lease codes which identify

   defendants own identification as to the type of lease and a list of leases and lease files which

   contain the leases.    Both plaintiffs and defendants have prepared category lists which

   demonstrate that there exists thousands of same or similar leases which the Court can dispose of

   by deciding the lease issues from one. See supra.

          Royalty owners are treated uniformly and their right to damages can be calculated across

   the class. (Exh. 23, Reineke Affidavit; see also Exh. 3, Bergonzi Desposition, pp. 194-211.)

   Mr. Reineke testified in his deposition as to the manner in which he or others could accurately

   determine damages based upon utilization of EQT’s databases and type of lease that was

   applicable to the plaintiffs and the class. (Exh. 24, Reineke Deposition, pp. 143-147.) This

   includes shortage on volume.      Id. 148-150; 153-155.     It can be calculated for the price

   differential, as well. Id. 155 and for natural gas liquids (NGL’s.) Id. 161-164; (also Exh. 23,

   Reineke Affidavit, p. 17.)

          As the Court in Adair v. Equitable Production, 764 F3d 347, 358 (4th Cir. 2014) stated,

   the plaintiffs need not be able to identify every class member at the time of certification. But




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   “[i]f class members are impossible to identify without extensive and individualized fact-finding

   mini-trials, then a class action is inappropriate.” That is not the case here.

           The class members are identified by defendants’ own records which defendants have a

   duty to keep and maintain. It is part of the business practices of the oil and gas industry that oil

   and gas leases are generally assignable and many are decades old and have been assigned more

   than once and it is true that the owners may pass away and leave heirs their gas interests.

   However, the lessee is taking gas from the lessor’s property interest and has a duty to pay the

   lessor the rental or royalty required by the lease.

           It is not necessary for the Court and defendants to undertake the initial analysis of

   thousands of the same leases. That is what discovery is for. Plaintiffs, as set forth supra, and to

   the best of their ability, identified the lease language, whether there is language in each lease

   which allows deductions or provides a method for calculating deductions or states that the lessor

   will be responsible for any post-production costs. Plaintiffs have determined the number and

   identity of the flat rate leases.

           It is obvious that it is more efficient and a superior method of litigating this case by class

   action than having thousands of separate parties litigate the same lease. Tawney and W.Va.

   Code, § 22-6-8 resolves this issue with respect to most all of the liability issues in this case.

   Tawney and Wellman explained above, resolved the issue of what deductions or costs a lessor

   may credit itself from the lessor’s stated royalty and it places the burden on lessees to prove that

   the deductions are actual and reasonable.        Defendants ignore the language in Tawney and

   Wellman that states that they “must prove” they incurred it and it was reasonable.




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            B.       Numerosity

            The requirement of numerosity17 is liberally interpreted and applied in the Fourth Circuit.

                    In Brady v. Thurston Motor Lines, 726 F.2d 136, 145 (4th Cir.), cert.
            denied, 469 U.S. 827, 105 S.Ct. 110, 83 L.Ed.2d 53 (1984), the court noted the
            Rule 23(a)(1) requirement that the class be “ ‘so numerous that joinder of all
            members is impracticable.’ ” Id. (quoted authority omitted). The court further
            stated “ ‘No specified number is needed to maintain a class action.’ ” Id. (quoted
            authority omitted). In analyzing sheer numbers, the same court elaborated further:

            Black v. Rhone-Poulenc, Inc., 173 F.R.D. at 160.

            In the instant case, Defendants admit that “[t]here are more than 8,000 leases which could

   fall within the putative class” and “more than 10,000 putative class members.” 18 Accordingly,

   the numerosity requirement is easily met.

            C.       Commonality

            Importantly, plaintiffs have the same causes of action. There will be differences between

   large groups, but the issues have nothing to do with liability. Under Federal Rule of Civil

   Procedure Rule 23 (a)(2), the proposed class must share a common question of law or fact.

   Plaintiffs have identified some of the common questions of law and fact, infra. “For purposes of

   Rule 23(a)(2) [e]ven a single [common] question will do.” Wal-Mart Stores, Inc. v. Duke, ___

   U.S. ___, 131 S.Ct. 2541, 2556, 180 L.Ed. 2d 374 (2011). “Though the Dukes Court found

   commonality lacking, the requirement is easily met in most cases.” Rubenstein, 3 Newberg on

   Class Actions § 3:20 (5th ed.). “This factor is stated in the disjunctive,” meaning that either

   common questions or law or fact can establish sufficient commonality. Black v. Rhone-Poulenc,

   Inc., 173 F.R.D. 156, 161 (S.D. W.Va. 1996).                      The class representative cannot satisfy


   17
      This issue is generally obvious, easily met, ordinarily receives only summary treatment, and is often uncontested.
   See Rubenstein, 3 Newberg on Class Actions § 3:12 (5th ed.).
   18
      EQT Production’s answers and responses to plaintiffs’ interrogatories and requests for production of documents,
   Doc. Id. 166, pp. 2-3.


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   commonality by simply asserting that the class has suffered a violation of the same law, but must

   show that the class members have suffered the same injury. Wal-Mart, at 2551.

            Plaintiffs and the putative class have each suffered the same type damages which will be

   resolved by the common questions of law and fact in this case. Defendants’ relevant acts and

   omissions were common across the entire class. 19 First, the defendants established set postage

   stamp rates for deductions from all lessors from which it took deductions in each of its 3 West

   Virginia districts, Brenton, Weston and Madison. The common issues therefore, for all class

   members, include all those set forth in “Commonality” class.

            As a result of the same conduct by defendants, the plaintiffs suffered the same type of

   damages as was suffered by putative class members which was that defendants deducted from

   their royalty payments unreasonable post-production deductions which were not actual, but

   estimates without incorporating into the lease any method for calculating the same. Some of the

   common issues, therefore, include, but are not limited to, the following:

            (1)      Is EQT the alter ego of the other subsidiaries and, therefore, liable as a result, is it
                     liable as a result of its own misconduct or by virtue of a fraudulent scheme or
                     joint venture?



   19
      See, e.g., Naylor Farms v. Anadarko OGC Co., No. CIV-08-668-R, 2009 WL 8572026, at * 5 (W.D.Okla. Aug.
   26, 2009) (Russell, J.) (“Additionally, there are fifteen ‘categories’ of lease royalty provisions at issue. As a result,
   Defendant contends commonality is lacking. However, Mike Butcher, designated corporate representative for
   Defendant Questar, testified in deposition that all royalty owners are treated in the same manner with regard to the
   calculation of royalty payments. . . . The Court concludes that in light of Mr. Butcher’s testimony, that the differing
   language of the leases is not an impediment to certification of the class on the basis of commonality.”); Davis v.
   Devon Energy Corp., 147 N.M. 157, 163, 218 P.3d 75, 81 (2009) (“Given Defendants’ standardized treatment of all
   class members in deducting certain costs, we agree with the district court that it would be in a position to declare the
   rights of the parties on a class-wide basis with respect to the propriety of those deductions. For those agreements in
   which the marketable condition rule may be implied, a matter we address later in this opinion, the court would be in
   a position to adjudicate on a class-wide basis whether the costs uniformly deducted by Defendants were necessary to
   put the CBM gas in a marketable condition.”). See also Arkansas Louisiana Gas Co. v. Morris, 294 Ark. 496, 499,
   744 S.W.2d 709, 710 (Ark. 1988) (“We are able to determine from the record a common question of fact that all
   “fixed price” lessors in the Cecil Field have been treated identically by the defendant lessees for a number of years.
   The parties have for some reason ignored the royalty amount fixed in the original leases and have paid and accepted
   royalties of different amounts. It is apparent that the common question of law in this case is whether the defendants’
   course of conduct gives rise to a cause of action in favor of the “fixed price” lessors in the Cecil Field.”).

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          (2)     Did defendants breach their contractual duties, implied or otherwise, to plaintiffs
                  and the class?

          (3)     Are the deductions reasonable under the terms of Tawney?

          (4)     Are the deductions actuals costs?

          (5)     Did the defendants provide a “method for calculating” the costs to be deducted?”

          (6)     Are defendants entitled to any of the deductions based upon their non-compliance
                  with Tawney?

          (7)     Are plaintiffs and the class entitled to payment from the volume at the wellhead?

          (8)     Did the defendants fraudulently charge plaintiffs for the deductions?

          (9)     Did the defendants intentionally and maliciously over-charge plaintiffs for
                  deductions?

          (10)    Are plaintiffs entitled to be paid for liquids?

          (11)    Are plaintiffs entitled to punitive damages?

          D.      Typicality

          Pursuant to Rule 23(a)(3), a class action may be maintained only if “the claims or

   defenses of the representative parties are typical of the claims or defenses of the class.” Fed. R.

   Civ. P. 23(a)(3). Typicality overlaps with commonality because they both measure the degree of

   interrelatedness between the claims in a class action. Rubenstein, 3 Newberg on Class Actions §

   3:31 (5th ed.). As set forth in Wal-Mart: “Both serve as guideposts for determining whether

   under the particular circumstances maintenance of a class action is economical and whether the

   named plaintiff’s claims and class claims are so interrelated that the class member will be fairly

   and adequately protected in their absence.” Wal-Mart, ___ U.S. ___, 131 S.Ct. 2541, 2551, n. 5,

   180 L.E.2d 374 (2011) (quotations omitted).

          “Factual differences will not render a claim atypical if the claim arises from the same…

   practice or course of conduct that gives rise to the claims of the class members and is based on

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   the same legal theory.” Rubenstein, 3 Newberg on Class Actions § 3:34 (5th ed.). Courts have

   conclusively held and routinely found that variations in the amount of relief sought will not

   render the proposed class representative’s claims atypical.” Rubenstein, 3 Newberg on Class

   Actions §§ 3:42 and 3:43 (5th ed.). See Deiter v. Microsoft Corp., 436 F.3d 461, 466 (4th Cir.

   2006) (factual variations defeat typicality only when “the variation strikes at the heat of the

   respective causes of action.”).

          Plaintiffs’ claims are that defendants wrongfully withheld money from their royalty

   payments and did not pay them for the volume of gas produced at the wellhead, nor paid them

   for liquids. In order to litigate plaintiffs’ claims, it is necessary for them to prove that (1)

   defendants’ methodology for determining deductions are not “actual” and not “reasonable;” and

   (2) defendants, nevertheless, took deductions when they were not permitted under the terms of

   Tawney and owed them but didn’t pay for liquids. All of the issues set forth above as the

   common issues must be litigated by plaintiffs to resolve their claims which obviously must be

   litigated to recover for each of the approximately 25,000 lessors.

          While there are some variations in lease language, defendants have maintained lease files

   for all of its lessors and a list of leases categorized within its Enerita electronic database. None

   of the leases however, provide a methodology for calculating deductions. Therefore, resolution

   of this issue will resolve the “questions class-wide” as to whether the lessee could take the

   deductions it took. And plaintiffs’ proposed subclasses separate the leases into those where there

   exists specific deductions and those which do not, among the relevant leases are groups of leases

   with the same or very similar characteristics which , if necessary, can be evaluated as a group or

   subclass, including flat rate leases and amended leases.




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          A question plaintiffs must answer is how can the Court fairly manage this proposed class

   where there does exist some variations in lease language. The Fourth Circuit dealt with these

   issues in EQT Prod. Co. v. Adair, 764 F.3d at 366-71, and found that the district court should

   have given more “consideration to Rule 23 factors that affect only certain classes,” for example,

   how variations in the defendants’ royalty obligations implicate the commonality and

   predominance inquiries in certain leases where the defendants’ obligations may vary as to the

   payment of royalty and post-production deductions.

          Defendants have not made plaintiffs’ or the Court’s task easier in this regard, however.

   Defendants have lists of leases and their characteristics documented in lists and within its

   databases, but as stated above, refuses to produce same or provide how it determines whether

   and how it is entitled to deductions from each lease. Nevertheless, plaintiffs have obtained the

   defendants’ lease files which reveal, that while there are a number of variations in lease

   language, they can easily be broken out into subclasses and/or groups since most producers use

   similar forms for different periods.    The combination of specificity by the West Virginia

   Supreme Court in Tawney sets a standard for lessees to meet in order for lessees to deduct any

   amount from plaintiffs’ royalty. Defendants’ own databases which contain the entire revenue

   and payment history for each lessor therefore demonstrate that the predominance and superiority

   requirements are easily met. The Court should therefore consider the following:

          1.     Some plaintiffs’ claims are based upon the fact that the deductions taken are an
   “estimate” and not “actual,” and/or that the deductions are “unreasonable” and/or that the
   “method” provided for calculating same is not provided for in any lease, the claim crosses all
   leases where deductions are taken. As demonstrated above, plaintiffs, by the tables and
   documents provided, that can be proven.

           2.    Plaintiffs’ claims based upon the fact that the lease does not provide any specific
   deductions is easily addressed, as well. These leases account for a significant portion of the
   leases.


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          3.      Unlike in the Adair case, defendants agree they are supposed to pay its lessors
   uniformly at the “point of sale,” which is at the natural gas interstate pipeline, at published rates
   which are not contested in this case. However, they don’t, as described by Mr. Reineke.

          4.      Defendants take deductions from flat rate leases converted by W. Va. Code, § 22-
   6-8. Defendants take the position that, regardless of Tawney, the defendants can deduct post
   production expenses from a lessors’ royalty. The Court’s resolution of that legal question will
   resolve the question of all of these leases.

           5.      Defendants have the right and obligation as lessees of a number of other leases
   which, list one or more items of deductions of post-production expenses, but defendants still
   charge plaintiffs the same rate regardless. Further out of the 9,000 leases, there are groups which
   do not satisfy Tawney in other ways. For example, there are leases which claim that lessee is
   allowed to deduct “reasonable and actual post-production expenses” copying a portion of
   Tawney, but not following Tawney’s requirement to specify, etc. This presents the Court with a
   legal question to resolve.

          6.      Plaintiffs have and can determine the amount of liquids owed by defendants to
   each lease and/or lessor.

           7.      Finally, unlike in Adair, the Tawney decision has already addressed rules for
   lessees in West Virginia in order to take deductions. It is settled law and provides an objective
   standard for lessees to follow which either permits or precludes deductions.

          E.      Adequacy

          Rule 23(a)(4) permits a class action to be maintained only if “the parties will fairly and

   adequately represent the interests of the class.” Fed. R. Civ. P 23(a)(4).

          Although the term “party” is usually used to refer to the litigants themselves, in
          interpreting Rule 24(a), courts have used it as a mandate for scrutinizing both the
          litigants proposed to serves as class representatives and the lawyers proposed to
          serve as class counsel. Thus, the standard for adequacy splits into two prongs:
          adequacy of the proposed representative and adequacy of the attorney seeking
          appointment as counsel.

   Rubenstein, 3 Newberg on Class Actions § 3:54 (5th ed.). See Stay the Course West Virginia v.

   Tennant, 2013 WL 209489, 3 (S.D. W.Va. 2013) (referring to the “two basic guidelines” of

   adequate representation as being “1) the absence of conflict between the representative and

   members of the class and 2) the assurance that the representative will vigorously prosecute the

   matter on behalf of the class.”). Further, when the class representative’s claims are for the same

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   type of relief as those of the class, there is no obstacle to them being an adequate representative.

   Rubenstein, 3 Newberg on Class Actions § 3:59 (5th ed.). The size of plaintiff’s individual claim

   as compared to other class members is immaterial to adequacy. Id.

          With regard to the adequacy of class counsel, Rule 23(a)(4) asks whether counsel are

   “qualified, experienced, and generally able to conduct the litigation” and whether counsel will

   “vigorously prosecute the interests of the class.” Rubenstein, 3 Newberg on Class Actions §

   3:72 (5th ed.). See also, In re Serezone Prods. Liab. Litig., 231 F.R.D. 221, 239 (S.D. W.Va.

   2005). “These standards are easily met, with members of the bar in good standing typically

   deemed qualified and competent to represent a class absent evidence to the contrary.” Id.

   Counsel’s finding of adequacy in other class action is persuasive evidence that counsel will be

   adequate in the present action. Id.

          Plaintiffs are lessors of defendants and have no conflict with the class. All share interest

   common to the class. They willingly have stepped forward to pursue their claims on a classified

   basis and obtained counsel who are experienced in pursuing similar claims and have

   demonstrated their resolve in pursuing this case. Plaintiffs’ counsel have both had extensive

   experience in litigating complex cases, including class actions with respect to royalty claims like

   the subject action. Both were class counsel in Tawney v. CNR and other similar cases. (See

   Exh. 26 and 27, Affidavits of Marvin W. Masters and Michael Carey.

          F.      This action satisfies F.R.C.P. 23(b)(3)

          Subdivision (b)(3) permits a class action in circumstances where the prerequisites of Rule

   23(a) are met, and two additional criteria are satisfied: (1) that questions of law or fact common

   to members of the class predominate over any questions affecting only individual members and

   (2) that a class action is superior to other available methods for the fair and efficient adjudication


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   of the controversy. Fed. R. Civ. P. 23(b)(3). There are numerous leases in each of the different

   groups of leases, 4000 in one, 2000 in another, etc. Therefore, a class action is ___ the superior

   method of resolving these claims by reference to Wellman and Tawney. Therefore, partial

   summary judgments should resolve thousands of these claims. Pursuant to the Rule 23(b)(3), a

   class may be certified if:

            the court finds that the questions of law or fact common to class members
            predominate over any questions affecting only individual members, and that a
            class action is superior to other available methods for fairly and efficiently
            adjudicating the controversy.

   Fed. R. Civ. P. 23(b)(3) (emphasis added).

            The common questions which arise in this litigation predominate over individual

   questions and F.R.C.P. 23(b)(3) class action is superior to any other means of adjudicating the

   plaintiffs’ and the class claims. 20




   20
     In addition to federal and state courts that have certified class actions in this State, numerous courts in other
   jurisdictions have certified class actions involving claims arising from natural gas leases, the royalties paid under
   such leases, and/or the deductions taken from such royalty payments, among other related issues. See, e.g., Seeco,
   Inc. v. Hales, 330 Ark. 402, 954 S.W.2d 234 (1997) (involving claims of fraud and constructive fraud, breach of oil
   and gas leases, breach of duty to market gas reasonably, breach of duty of good faith and fair dealing, violation of
   statutes governing penalties for fraudulently withholding oil and gas lease payments, unjust enrichment, tortious
   interference with contractual relations, civil conspiracy, and violation of statute governing calculation of royalties);
   Bice v. Petro-Hunt, L.L.C., 681 N.W.2d 74 (N.D. 2004) (claims for underpayment of royalties under leases, breach
   of implied covenant to market hydrocarbons, conversion, unjust enrichment, an accounting, breach of implied
   covenant of good faith and fair dealing, and declaratory relief); Freebird, Inc. v. Merit Energy Co., Civil Action No.
   10-1154-KHV-JPO, 2011 WL 13638 (D.Kan. Jan. 4, 2011) (Vratil, J.) (claims for breach of leases concerning
   underpayment of royalties, unjust enrichment, and an accounting); Schell v. Oxy USA, Inc., No. 07-1258-JTM, 2009
   WL 2355792 (D.Kan. July 29, 2009) (Marten, J.) (claims arising from alleged breach of free gas clause in oil and
   gas leases and the implied duty to make gas useable for house gas use); Anderson v. Merit Energy Co., Civil Action
   Nos. 07-cv-00916-LTB, 07-cv-01025-LTB-BNB, 2008 WL 2484187 (D.Colo. June 19, 2008) (Babcock, J.) (claims
   of breach of leases, the underpayment of royalties, and the implied duty of marketability); Davis v. Devon Energy
   Corp., 147 N.M. 157, 218 P.3d 75 (2009) (court affirming class certification for declaratory and injunctive relief and
   reversing denial of class certification for monetary damages in case where royalty owners alleged gas producers had
   improperly deducted from royalty payments the costs of making coalbed methane gas marketable); Arkansas
   Louisiana Gas Co. v. Morris, 294 Ark. 496, 744 S.W.2d 709 (Ark. 1988) (claims to be paid royalties on new wells
   drilled based upon the “proceeds” from the sale of gas from the new wells, under 8 to 10 theories of recovery,
   including estoppel, waiver, and reformation).


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          G.      Predominance

          A Rule 23(b)(3) class action is permitted where the class “is sufficiently cohesive to

   warrant adjudication by representation.” Lienhart v. Dryvit Sys., Inc., 255 F.3d 138 (4th

   Cir.2001) (quotations omitted). Where significant common questions can be resolved for class

   members in one action, it is efficient to deal with class claims on a representative rather than an

   individual basis. See Charles Alan Wright & Arthur R. Miller, 7AA Federal Practice and

   Procedure § 1778 (3d ed. 2009). “The predominance inquiry focuses on whether liability issues

   are subject to class-wide proof or require individualized and fact-intensive determinations.

   Deciding whether common questions predominate over individual ones involves a qualitative,

   rather than quantitative, inquiry.” Singleton v. Domino's Pizza, LLC, No. 11–cv–1823, 2013 WL

   5506027, at *6 (D.Md. Oct. 2, 2013) (citations omitted).

                  A principle often forgotten is that the balancing test of common and
          individual issues is qualitative, not quantitative. Gunnells, 348 F.3d at 429.
          Common liability issues may still predominate even when individualized inquiry
          is required in other areas. Id. At bottom, the inquiry requires a district court to
          balance common questions among class members with any dissimilarities
          between class members. See Gunnells, 348 F.3d at 427–30.

                  While courts have denied certification when individual damage issues are
          especially complex or burdensome, see, e.g., Pastor v. State Farm Mut. Auto. Ins.
          Co., 487 F.3d 1042, 1047 (7th Cir.2007), where the qualitatively overarching
          issue by far is the liability issue of the defendant’s [actions], and the purported
          class members were exposed to the same risk of harm every time, such as where a
          defendant violates a statute in the identical manner on every occasion, individual
          damages issues are insufficient to defeat class certification under Rule 23(b)(3).
          See Murray v. GMAC Mortg. Corp., 434 F.3d 948, 953 (7th Cir.2006); Smilow v.
          Southwestern Bell Mobile Systems, Inc., 323 F.3d 32, 40 (1st Cir.2003). The same
          principle would apply here to the alleged liability [issues].

   Good, 310 F.R.D. at 296-97.

          Common issues will predominate if “individual factual determinations can be

   accomplished using computer records, clerical assistance, and objective criteria — thus


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   rendering unnecessary an evidentiary hearing on each claim.” Newberg on Class Actions § 4:50

   (5th ed.). In addition, common issues predominate when adding more plaintiffs to the class

   would minimally or not at all affect the amount of evidence to be introduced. Id.

           Courts in every circuit have uniformly held that the 23(b)(3) predominance requirement

   is satisfied despite the need to make individualized damage determinations and a recent

   dissenting decision of four Supreme Court Justices characterized the point as “well nigh

   universal.” Newberg on Class Actions § 4:54 (5th ed.), citing Comcast v. Behrend, 133 S.Ct.

   1426, 1437, 185 L.Ed.2d 515 (2013). See also, Gunnells v. Healthplan Services, Inc., 348 F.3d

   417, 428, 31 Employee Benefits Cas., 57 Fed. R. Serv. 3d 132 (4th Cir. 2003)

           The facts demonstrate that defendants’ methodology for determining what costs are to be

   deducted from plaintiffs’ royalty payment is uniform. Costs are gathered from defendants’

   subsidiaries and from corporate by one group headed by Mr. Piccirilli, who aggregates all of it

   and then “estimates” what it should be next year, never accounting for the actual cost and

   including matters which are not reasonable to charge its lessors under any circumstances. If

   defendants’ method of calculating its deductions did not comply with Wellman and Tawney, then

   none of its deductions should have been taken from the plaintiffs or the class and they are

   entitled to recover all of said deductions.

           Secondly, regardless of whether the leases provided for specific deductions, defendants

   took deductions from them.          Tawney made clear that leases must specifically state what

   deductions, if any, are to be taken in order for a lessee to deduct same. For the subclass of those

   leases which do not provide for specific deductions, resolution of plaintiffs’ claims will resolve

   the liability of all such leases.




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           H.      Superiority

           For a class to be certified under Rule 23(b)(3), a court must also find that “a class action

   is superior to other available methods for fairly and efficiently adjudicating the controversy.”

   Fed. R. Civ. P. 23(b)(3) (emphasis added). Rule 23(b)(3) requires the proposed class action to be

   superior to other methods of adjudication so that the class action will “achieve economies of

   time, effort and expense, and promote uniformity of decision as to persons similarly situated,

   without sacrificing procedural fairness or bringing about other undesirable results.” Amchem

   Prods., Inc. v. Windsor, 521 U.S. 591, 615, 117 S.Ct. 2231, 138 L.Ed.2d 689 (1997) (quotations

   omitted).

           A primary purpose of class actions lawsuits, particularly money damages claims

   aggregated under 23(b)(3), is to enable the litigation of small claims like most of these claims,

   that could not be pursued individually. Newberg on Class Actions § 4:65 (5th ed.). Accord

   Amchem Prod., Inc. v. Windsor, 521 U.S. 591, 617, 117 S.Ct. 2231, 138 L.E. 2d 689 (1997),

   (such cases are the “core” of the class action mechanism.)

           The efficiencies that a class action may achieve are greater when the class is large. Id.

   The need to avoid duplicative litigation can be significant even when the class is relatively small

   in number, but it is when there are many potential claimants that class actions bring the greatest

   efficiencies. Id. A class action may enhance judicial efficiency and legitimacy by preventing

   inconsistent results. Id.

           The question that courts consider when they analyze manageability is not whether a class

   action is manageable in the abstract but how the problems that might occur in managing a class

   suit compare to the problems that would occur in managing litigation without a class suit. Id.

   Manageability should rarely, if ever, be in itself sufficient to prevent certification of a class. Id.


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   Second, given the fact that the very concerns that might make a class suit difficult to manage also

   infect the procedural alternatives, courts within at least seven circuits have held that there is a

   presumption against dismissing a class action on manageability grounds or that such dismissals

   are disfavored. Id. See De Loach v. Philip Morris Companies, Inc., 206 F.R.D. 551, 567 (M.D.

   N.C. 2002) (“Though any case of such magnitude certainly poses problems of manageability …

   dismissal for management reasons, in view of the public interests involved in class actions,

   should be the exception rather than the rule.”) (internal citations and quotations omitted).

          While a judge on the Second Circuit, Justice Sonia Sotomayor wrote, in an oft-cited

   passage, that “failure to certify an action under Rule 23(b)(3) on the sole ground that it would be

   unmanageable is disfavored and ‘should be the exception rather than the rule.’ ” In re Visa

   Check/MasterMoney Antitrust Litigation, 280 F.3d 124, 141 (2d Cir. 2001). Before denying

   class certification (here for reasons concerning individualized damages), a court may consider

   whether any of a number of “management tools” might enable the case to proceed; the listed

   options included the following:

          (1) bifurcating liability and damage trials with the same or different juries; (2)
          appointing a magistrate judge or special master to preside over individual
          damages proceedings; (3) decertifying the class after the liability trial and
          providing notice to class members concerning how they may proceed to prove
          damages; (4) creating subclasses; or (5) altering or amending the class.

   Id. See also, Newberg on Class Actions § 4:80 (5th ed.); Pitt v. City of Portsmouth, Va., 221

   F.R.D. 438, 447 (E.D. Va. 2004).

          Indeed, while certifying a class action can certainly create difficult management

   concerns, courts must also be

          cognizant of the inefficient, costly and time consuming alternative. Absent the
          proposed liability issues certification, the issue of fault, for one, would have to be
          tried seriatim in every case for which a jury is empanelled. That consideration
          alone tips the balance heavily toward the limited issue certification sought by

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          plaintiffs. See Gunnells, 348 F.3d at 426 (“Proving these issues in individual trials
          would require enormous redundancy of effort, including duplicative discovery,
          testimony by the same witnesses in potentially hundreds of actions, and
          relitigation of many similar, and even identical, legal issues.”).

                  Additionally, absence of the class device would surely discourage
          potentially deserving plaintiffs from pursuing their rights under the circumstances
          here presented. That is another factor influencing the outcome sought by
          plaintiffs. See Gunnells, 348 F.3d at 426 (noting in that case that “class
          certification will provide access to the courts for those with claims that would be
          uneconomical if brought in an individual action. As the Supreme Court put the
          matter, ‘[t]he policy at the very core of the class action mechanism is to overcome
          the problem that small recoveries do not provide the incentive for any individual
          to bring a solo action prosecuting his or her rights.’ ” (quoting Amchem, 521 U.S.
          at 617, 117 S.Ct. 2231)).

                  Surely, the plaintiffs thus receive a benefit from the proposed issues
          certification. But so, too, do the defendants. As our court of appeals has noted, the
          focus of Rule 23(b)(3) in the mass tort context is to “ensure that class certification
          in such cases ‘achieve economies of time, effort, and expense, and promote ...
          uniformity of decision as to persons similarly situated, without sacrificing
          procedural fairness or bringing about other undesirable results.’ ” Gunnells, 348
          F.3d at 424 (quoting Amchem Products, Inc. v. Windsor, 521 U.S. 591, 615, 117
          S.Ct. 2231, 138 L.Ed.2d 689 (1997)). As in Gunnells, defendants benefit from
          procedural fairness by certification:
          “Furthermore, class certification ‘provides a single proceeding in which to
          determine the merits of the plaintiffs’ claims, and therefore protects the defendant
          from inconsistent adjudications.’ This protection from inconsistent adjudications
          derives from the fact that the class action is binding on all class members. By
          contrast, proceeding with individual claims makes the defendant vulnerable to the
          asymmetry of collateral estoppel: If [the Defendant] lost on a claim to an
          individual plaintiff, subsequent plaintiffs could use offensive collateral estoppel to
          prevent [the Defendant] from litigating the issue. A victory by [the Defendant] in
          an action by an individual plaintiff, however, would have no binding effect on
          future plaintiffs because the plaintiffs would not have been party to the original
          suit. Class certification thus promotes consistency of results, giving defendants
          the benefit of finality and repose.”
          Gunnells, 348 F.3d at 427.

   Good, 310 F.R.D. at 297-98.




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              I.     Rule 23(c)(4) Analysis

          While Plaintiffs believe that all of their claims set forth in their Complaint may properly

   be certified under the above Rule 23 analysis. It is also important for this Court to realize that

   Rule 23(c)(4) provides that “[w]hen appropriate, an action may be brought or maintained as a

   class action with respect to particular issues.” Fed.R.Civ.P. 23(c)(4). As explained in Good by

   the United States District Court of the Southern District of West Virginia, the Honorable John T.

   Copenhaver, Jr., presiding:

                 Consistent with the text of Rule 23(c)(4), one commentator recently
          observed as follows: “Although traditional claims brought under Rule 23(b)
          involve ‘an all-or-nothing decision to aggregate individual cases,’ Federal Rule of
          Civil Procedure 23(c)(4) allows litigants to resolve specific issues in a case on a
          class-wide basis.” Joseph Seiner, The Issue Class, 56 B.C. L. Rev. 121, 132
          (2015) (quoting Jon Romberg, Half A Loaf Is Predominant and Superior to None:
          Class Certification of Particular Issues Under Rule 23(c)(4)(A), 2002 Utah L.
          Rev. 249, 251 n.96) (emphasis added).

                  There is no impediment to certifying particular issues in a case as opposed
          to entire claims or defenses. That is the very approach urged by the authoritative
          Manual for Complex Litigation:
          “Rule 23(c)(4)(A) permits a class to be certified for specific issues or elements of
          claims raised in the litigation. [T]his provision may enable a court to achieve the
          economies ... for a portion of a case, the rest of which may either not qualify
          under Rule 23(a) .... Certification of an issues class is appropriate only if it
          permits fair presentation of the claims and defenses and materially advances the
          disposition of the litigation as a whole.
          An issues-class approach contemplates a bifurcated trial where the common issues
          are tried first, followed by individual trials on questions such as proximate
          causation and damages. A bifurcated trial must adequately present to the jury
          applicable defenses and be solely a class trial on liability.”
          Manual for Comp. Litig. § 21.24 (4th 2004).

          If otherwise compliant with Rule 23, the proposed liability issue certifications
          provide an orderly means to resolve some of the central issues in the case. That is
          an approach that is encouraged by our court of appeals. See In re A.H. Robins,
          880 F.2d 709, 740 (4th Cir.1989) (noting the need to “take full advantage of the
          provision in [Rule 23(c)(4)] permitting class treatment of separate issues ... to
          reduce the range of disputed issues” in complex litigation).

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   Good, 310 F.R.D. at 295-96. Accord Gunnells, 348 F.3d at 428; Central Wesleyan College v.

   W.R. Grace & Co., 6. F.3d 177, 185 (4th Cir. 1993); Hill v. Western Elec. Co., Inc., 672 F.2d 381,

   387 (4th Cir. 1982); Black v. Rhone-Poulenc, Inc., 173 F.R.D. at 159.

          Judge Copenhaver further held in Good that the weight of authority supports that the law

   does not “require[ ] a cause of action as a whole be factored into analysis of the predominance

   requirement of Rule 23(b)(3), as opposed to simply considering that requirement after the court

   isolates a potentially class-worthy issue under Rule 23(c)(4).” Good, 310 F.R.D. at 298 (citing

   In re Nassau Cnty. Strip Search Cases, 461 F.3d 219, 231 (2d Cir.2006); Valentino v. Carter–

   Wallace, Inc., 97 F.3d 1227, 1234 (9th Cir.1996)). Judge Copenhaver further explained:

          One commentator so observes:
          “[A]lthough it is clear that plaintiffs seeking issue class certification must
          establish the four components of Rule 23(a), there is less certainty as to what they
          must establish under Rule 23(b). Moreover, courts have issued varying opinions
          in this regard.
                 For the most part, appellate courts have agreed that the issue class can
          proceed under Rule 23(c)(4) even where the predominance requirement of Rule
          23(b) has not been satisfied.”
          Joseph Seiner, supra at 134.

                  Another leading Rule 23 commentator has noted likewise that “[m]ost
          federal courts of appeal hold that a class action may be maintained with respect to
          a particular issue regardless of whether the claim as a whole satisfies the
          requirement that common questions of law or fact predominate over questions
          affecting only individual members.” 6 Thomas Smith & Elizabeth Williams,
          Cyclopedia of Federal Proc. § 23:32 (3d ed. elec. 2015). . . .

          . . . The court is not required under Rule 23 . . . to sacrifice class adjudication of a
          driving issue in the case simply because many individualized inquiries will
          remain thereafter. . . .

   Good, 310 F.R.D. at 298. Accord Gunnells, 348 F.3d at 441-45 (citing cases and authorities).




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                           J. Plaintiffs’ Fraud Causes of Action Can Be Certified

            Plaintiffs’ claims of actual and constructive fraud, including fraudulent concealment, can

   be certified consistent with the principles of Rule 23. Numerous courts in other jurisdictions

   have recognized the wisdom of permitting the element of reliance to be presumed or inferred for

   members of a plaintiff class action. See, e.g., Varacallo v. Massachusetts Mut. Life Ins. Co., 332

   N.J.Super. 31, 49-51, 752 A.2d 807, 817-18 (2000) (“Where the theory of recovery is common

   law fraud, in which reliance is required, our analysis of the predominance issue requires

   resolution of this question: For purposes of certifying a class, must the plaintiffs offer direct

   proof that the entire class relied on defendant's representation that omitted material facts, where

   the plaintiffs have established that the defendant withheld these material facts for the purpose of

   inducing the very action the plaintiffs pursued? We think not.”); Affiliated Ute Citizens of Utah

   v. United States, 406 U.S. 128, 153, 92 S.Ct. 1456, 1472, 31 L.Ed.2d 741, 761 (1972) (holding

   plaintiffs alleging securities fraud in violation of federal law “involving primarily a failure to

   disclose” do not have to provide “positive proof of reliance” in order to recover); Murray v.

   Sevier, 156 F.R.D. 235, 248-49 n. 11 (D.Kan.1994) (it is proper to presume reliance where the

   omission of material fact is common to the class). 21


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      See, e.g., Pocahontas Mining Co. Ltd. Partnership v. Oxy USA, Inc., 202 W.Va. 169, 175, 503 S.E.2d 258, 264
   (1998) (Workman, J., concurring) (“Obviously, one who is defrauded [by fraudulent concealment] cannot possibly
   take any affirmative action to indicate reliance, since he knows nothing of the deception. Yet, it would be ludicrous
   to reward a fraudulent actor for his skill in perpetrating such a deception. That is not what the law on fraud, and
   specifically on the element of detrimental reliance, envisions.” (citations omitted)); Edens v. Goodyear Tire &
   Rubber Co., 858 F.2d 198, 206-07 (4th Cir. 1988) (“direct proof of reliance on the concealment was not required for
   it was practically impossible to prove, by direct evidence, reliance on that which had been intentionally concealed”;
   applying South Carolina law permitting the recovery of punitive damages when a breach of contract is accompanied
   by a fraudulent intent and a fraudulent act); Basic Inc. v. Levinson, 485 U.S. 224, 245, 108 S.Ct. 978, 990, 99
   L.Ed.2d 194, 217 (1988) (“Requiring a plaintiff to show a speculative state of facts, i.e., how he would have acted if
   omitted material information had been disclosed ... or if the misrepresentation had not been made . . . would place
   an unnecessarily unrealistic evidentiary burden on the ... plaintiff...” (citations omitted)). See also State ex rel.
   Metro. Life Ins. Co. v. Starcher, 196 W.Va. 519, 523-26, 474 S.E.2d 186, 190-93 (1996) (as to the issue of
   identifying class members, the Court rejected MetLife's argument that “individual inquiry is necessary to ascertain
   the respective intentions of each prospective class member concerning the funding of the additional policy of
   insurance that they purchased”; also affirming circuit court’s holding that plaintiffs' “breach of contract claim and

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           Numerous other courts have recognized that substantive claims of fraudulent

   concealment, as well as claims of fraudulent concealment made in connection with tolling a

   statute of limitations, may be certified as a class action. Many of these cases also recognize that

   the reliance of class members on such fraudulent omissions or concealment may also be

   presumed across the class and does not constitute an impediment to class certification. See, e.g.,

   BP America Production Co. v. Patterson, 263 P.3d 103, 110-14 (Col. En Banc. 2011) (Where

   plaintiffs in a class action allege similar representations, the reliance issues may be presumed

   similar as well); Seeco, Inc. v. Hales, 330 Ark. 402, 413-14, 954 S.W.2d 234, 240-41 (1997) (“It

   is clear from our caselaw that individual questions relating to a class member’s reliance for an

   estoppel claim . . . or reliance for a misrepresentation claim . . . will not defeat class certification.

   . . .” (citations omitted)); Cope v. Metro. Life Ins. Co., 82 Ohio St.3d 426, 696 N.E.2d 1001,

   1004-05 & 1008 (1998) (“Courts generally find that the existence of common misrepresentations

   obviates the need to elicit individual testimony as to each element of a fraud or misrepresentation

   claim, especially where written misrepresentations or omissions are involved.”).

                                                  CONCLUSION

           WHEREFORE, plaintiffs respectfully request and move the Court to find that this civil

   action meets all the criteria of Fed.R.Civ.P. 23 to be litigated and managed as a class action, the

   plaintiffs be appointed as class representatives, that Marvin Masters and Michael Carey and their

   firms be appointed as class counsel and for such other further and general relief as the Court

   deems just and proper.




   other asserted West Virginia common law claims are not based upon oral testimony but are instead based upon proof
   of the standard form documents utilized by the defendant [MetLife] in its processing of insurance applications and
   the issuance of life insurance policies and the standardized rules, procedures and conduct of the defendant in
   handling these matters”).

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                                                THE KAY COMPANY, LLC, WILLIAM
                                                CATHER, Trustee of Diana Goff Cather
                                                Trusts, and JAMES E. HAMRIC III, and all
                                                other persons and entities similarly situated,

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                                  CERTIFICATE OF SERVICE

           I, Marvin W. Masters, hereby certify that on September 30, 2016, I electronically filed
   “Plaintiffs’ Memorandum in Support of Motion for Class Certification” with the Clerk of the
   Court using the CM/ECF system, which will send notification of such filing to the following
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